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UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF DELAWARE
x
In re Chapter 11
WASHINGTON MUTUAL, INC., e_t a_l.,l Case No. 08-12229 (MFW)
Debtors. (Jointly Administered)
;{ Re: Docket No. 5971

 

ORDER ESTIMATING MAXIMUM AMOUNT OF LTW CLAIMS
FOR PURPOSES OF ESTABLISHING RESERVES

Upon considering (i) the motion (the “Motion”) of Washington Mutual, Inc. (“WMI”)

and WMI Investment Corp. (“WMI Investrnent” and together With WMI, the “Debtors”), dated

 

November 17, 2010, for an order estimating the maximum amount of certain claims for purposes
of establishing certain reserves under the Debtors’ proposed chapter ll plan of reorganization,
(ii) the objection to the Motion filed by Broadbill Investment Corp., Nantahala Capital Partners,
LP and Blackwell Capital Partners, LLC, dated December 6, 2010, on behalf of themselves and
all holders (the “LTW Holders”) of Litigation Tracking Warrants (the “L_IM”), and (iii) the
Debtors’ omnibus response to objections to the Motion, dated December 14, 2010; and the Court
having held a hearing to consider the Motion on January 6, 2010 (the “He*aring”); and at the
conclusion of the Hearing the Court having estimated the maximum amount of the LTW
Holders’ claims (the “LTW Claims”) at $M million; and the Court finding that (a) the Court
has jurisdiction over the Motion pursuant to 28 U.S.C. § 157 and 1334 and'(b) the Motion is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having determined that legal

 

1 The Debtors in these chapter ll cases along with the last four digits of each Debtor’s federal tax identification
number are: (i) Washington Mutual, Inc. (3725); and (ii) WMI Investment Corp. (5395). The Debtors’ principal
offices are located at 925 Fourth Avenue, Seattle, Washington 98104.

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and factual bases establish just cause for the relief granted herein; and after due deliberation and
sufficient cause appearing therefor and for the reasons set forth in the Hearing and in the
Opinion, it is hereby:

ORDERED, AS FOLLOWS:

1. The LTW Claims are hereby estimated in the aggregate maximum amount of
$§il million for the purposes of determining the reserves to be set for the LTW Claims.

2. The estimated amount of $§YQ_ million is the maximum amount for Which the
LTW Claims can be allowed in the bankruptcy proceeding regardless of the outcome of any
pending objection or defense to the claim, state or federal court litigation, or other proceeding

3. The estimation of the LTW Claims is without prejudice to the rights, defenses and
objections of the Debtors to the merits of the LTW Claims and, by estimating the LTW Claims,
this Court is not making a determination that the Debtors or the Debtors’ estates are liable on

account of the LTW Claims in any amount.

4.| The rights of the Debtors to object to, and defend against, the LTW Claims are
preserved

5. This Order shall be effective and enforceable immediately upon entry.

6. This Court retains jurisdiction to interpret, implement, and enforce the provisions
of this Order.

 

Dated: January\\i, 2011

Wilmington, Delaware …S§';§\

THE HONORABLE MARY F. WALRATH
UNITED STATES BANKRUPTCY JUDGE

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